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                                                                          Kim Plummer
                                                                             District Clerk
                                                                   Victoria County, Texas
                                21-02-86815-C                           By: Bobbi Ellinger




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